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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

CHRISTY SENSAT,                                         §
                                                        §
Plaintiff,                                              §
                                                        § Case No.: 4:21-cv-00000
v.                                                      §
                                                        §
PRIME COMMUNICATIONS, LP and                            §
POLARIS-PC MANAGEMENT, LP,                              § TRIAL BY JURY DEMANDED
                                                        §
Defendants.                                             §
                                                        §


PLAINTIFF’S ORIGINAL COMPLAINT AND REQUEST FOR INJUNCTIVE RELIEF



TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE: 1

        Christy Sensat, (“Plaintiff”), complains of Prime Communications, LP and Polaris-PC

Management, LP (“Defendants”) and for cause of action would show the Court as follows:

                                            INTRODUCTION

1.      Plaintiff demands a jury trial in this case as to any and all issues triable to a jury.

2.      Plaintiff files this Complaint and complains of sex discrimination, hostile work

        environment, and retaliation under Title VII of the Civil Rights Act of 1964 (“Title VII”),

        as amended, and disability discrimination and retaliation under the Americans with

        Disabilities Act of 1991 (“ADA”), as amended.




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  For the Court’s information, Plaintiff’s counsel who prepared this document, Edwin Villa, is visually impaired
and uses assistive technology when drafting documents. In particular, counsel relies on screen reader technology,
which reads aloud as the document is being typed. As a result, certain typos and formatting issues are difficult
to recognize. Therefore, please forgive any such issues in this document.
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3.    This action seeks compensatory and punitive damages, plus lost wages (past, present, and

      future), attorney’s fees, emotional distress and mental anguish, taxable court costs, pre-

      judgement and post-judgement interest.


                                           PARTIES

4.    Plaintiff, Christy Sensat, is a resident of Katy, Texas.

5.    Defendant, Prime Communications, LP, is a Texas limited partnership authorized to do

      business in the state of Texas and process may be served by mail or in person on its

      registered agent, Capitol Corporate Services, Inc., located at 206 E. 9th Street, Suite 1300,

      Austin, Texas 78701.

6.    Defendant, Polaris-PC Management, LP, is a Texas limited partnership authorized to do

      business in the state of Texas and process may be served by mail or in person on its

      registered agent, Capitol Corporate Services, Inc., located at 206 E. 9th Street, Suite 1300,

      Austin, Texas 78701.

                                            VENUE

7.    Venue is appropriate in the United States District Court for the Southern District of

      Texas—Houston Division in that Defendants’ Sugar Land office in which Plaintiff worked

      is located in this district and division. Therefore, Defendants can be said to reside or do

      business in this district and division as required under 28 U.S.C. § 1391.


                                       JURISDICTION

8.    This Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1331 (federal

      question jurisdiction) under Title VII of the Civil Rights Act of 1964, as amended, and

      under the ADA of 1991, as amended.

9.    The unlawful employment practices were committed within the jurisdiction of this Court.
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                                PROCEDURAL REQUISITES

10.    All conditions precedent to the filing of this action have been met by Plaintiff in that she

       has filed a timely complaint with the Equal Employment Opportunity Commission

       (“EEOC”) and has received a right-to-sue letter from said agency to pursue her claims.

11.    Plaintiff filed a Charge of Discrimination against Defendants with the EEOC on or about

       August 17, 2020.

12.    Plaintiff then filed an amended Charge of Discrimination against Defendants with the

       EEOC on or about December 3, 2020.

13.    Plaintiff was issued a Notice of Right to Sue letter from the EEOC, entitling her to file suit

       on her claims of discrimination based on sex, hostile work environment, disability, and

       retaliation on or about January 19, 2021.

14.    The filing of this lawsuit has been accomplished within ninety (90) days of Plaintiff’s

       receipt of notice from the EEOC.


                                             FACTS

15.    Plaintiff is a female.

16.    Plaintiff began working for Defendants on January 23, 2017 at Defendants’ service center

       headquarters in Sugar Land, Texas.

17.    At the time of Plaintiff’s termination, Plaintiff held the position of Lease Administration

       Manager.

18.    Defendants are the largest AT&T authorized retailer in the United States. Defendants own

       and operate approximately 2,000 retail locations.

19.    Throughout Plaintiff’s employment for Defendants, Plaintiff has been forced to work in a

       sexually charged, hostile work environment. This work environment led to Plaintiff being

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       a #MeToo victim, sexually harassed and discriminated against, leading to Plaintiff having

       severe issues that resulted in Plaintiff’s need for accommodations to allow Plaintiff to work

       from home while receiving medical treatment for Plaintiff’s disability.

20.    After Plaintiff complained to Defendants’ Human Resources department (“HR”) regarding

       the sexual harassment that she was forced to endure and the hostile work environment,

       Plaintiff began to be retaliated against by Defendants.

21.    Similarly, once Plaintiff was granted the accommodation of working from home, Plaintiff

       also began to be retaliated against by Defendants.

22.    Plaintiff made numerous complaints to Defendants’ HR department regarding the sex and

       disability discrimination, hostile work environment, and retaliation, and was ultimately

       unlawfully terminated by Defendants in retaliation.

23.    Upon Plaintiff’s initiation of employment with Defendants, Plaintiff quickly noticed the

       prevalent culture of male domination at Defendants’ workplace. However, it was later

       blatant acts of sexual discrimination and harassment that led Plaintiff to complain to

       Defendants’ HR department.

24.    For example, Plaintiff had an incident occur with a coworker, Trevor Weerasinghe, where

       Plaintiff’s husband was dropping Plaintiff off from having lunch together and Weerasinghe

       made a comment about Plaintiff and Plaintiff’s husband being together sexually by putting

       his finger into the hole of his other hand that was in a fist, thereby illustrating a penetrating

       action with his finger into his fist. This was extremely offensive to Plaintiff and a clear

       violation of Defendants’ policy.




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25.    During a call with HR, Plaintiff was told that this incident and behavior was addressed by

       Defendants and that Weerasinghe was coached and trained not to act in this manner and

       has not done so since.

26.    Another incident occurred where another employee and member of management, Karim

       Mussa, made very offensive sexually/racially charged comments. Specifically, while

       conversing with other coworkers, Mussa used the term “Jungle Bunny” repeatedly, and

       when Mussa was told that this term was sexually/racially charged and to stop using it, he

       continued to use the term several more times.

27.    Plaintiff was also told by Defendants’ HR that this other male employee was coached and

       trained in regard to his offensive behavior and allowed to remain employed with

       Defendants.

28.    Plaintiff has also personally had several instances of inappropriate discriminatory acts

       aimed at Plaintiff by a member of management, Aslam Jiwani. For instance, prior to

       entering into a meeting, Jiwani told Plaintiff to keep Plaintiff’s “hoo-hah” shut.” This was

       extremely offensive and inappropriate because the term “hoo-hah” is a derogatory slang

       term meaning vagina. Basically, Jiwani was telling Plaintiff to shut up during a meeting

       but did so by telling Plaintiff to keep Plaintiff’s vagina shut. This sort of talk at Defendants’

       workplace was quite common and very offensive to Plaintiff.

29.    This was not the first time Jiwani acted in such a sexually discriminatory manner.

       Defendants actually had a whole team of women quit because of the abuse they received

       at the hands of the male management team. These women were working for Defendants

       from Pakistan and would work with Plaintiff remotely. However, after these women quit,

       Plaintiff was told by Jiwani to hire only men as their replacements.


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30.    Another incident occurred where Jiwani was speaking to a group of male and female

       employees prior to a religious holiday that many of Defendants’ employees would be

       partaking in and that would require them to be at home. During this meeting, Jiwani made

       a comment to the male employees that they were welcome to come into the office if they

       got “tired of being stuck with all those women” at home. This was another unacceptable

       discriminatory comment where Jiwani was clearly portraying his negative feelings about

       women.

31.    This sentiment was furthered when Jiwani stated in a Thursday team meeting that he

       “needed a man to come in and lead the department.” Here, Jiwani was referring to the

       lease administration department, where Plaintiff worked, and was referencing a new hire

       that he had made where he hired Al Lalani, who had absolutely no experience and had no

       idea what he was doing.

32.    The most traumatic and offensive experience Plaintiff had to endure while employed by

       Defendants occurred at Defendants’ office Christmas party in December of 2019. At this

       event, Plaintiff was publicly sexually harassed in front of the whole company by Executive

       Vice President, Naushad Kermally.

33.    During this party, Plaintiff was told by Naushad Kermally to come up to the stage and bring

       Plaintiff’s husband because Plaintiff was going to be recognized for some reason. Plaintiff

       did so, believing that Plaintiff was going to be acknowledged for Plaintiff’s great

       performance for the company. Instead, to Plaintiff’s disgust and horror, Plaintiff was

       brought up on stage and sexually harassed.

34.    This sexual harassment came in the form of being publicly humiliated in front of Plaintiff’s

       peers, coworkers, and upper management of the company. Plaintiff was completely caught


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       off-guard and virtually forced to partake in what was called “The Newlywed Game.”

       During this “game,” Plaintiff was asked numerous inappropriate and disgusting personal

       questions about Plaintiff’s sex life with Plaintiff’s husband.

35.    For example, a few of the questions asked to Plaintiff by Naushad Kermally were,

       “Where’s the craziest place you ever had sex?”, “Which friend of your spouse would you

       most like to see in a bikini?”, “If your spouse were a sex animal what kind of sex animal

       would they be?”, “What is your favorite body part of your spouse and why?”

36.    This was all done on stage and in front of the whole company. The other “contestants”

       were both male and were high ranking executives. Plaintiff was intimidated and put into a

       situation where Plaintiff was the only female, non-executive employee on stage with

       numerous members of Defendants’ executive management team.

37.    The fact that the “game” itself was being conducted by an Executive Vice President of the

       company intimidated and forced Plaintiff to participate.

38.    The questions Plaintiff was asked were completely inappropriate and offensive and

       Plaintiff has found it almost impossible to be respected and treated seriously in the

       company. Plaintiff was taken advantage of by Defendants and has experienced a great deal

       of emotional distress as a result.

39.    Plaintiff has been confronted by coworkers and management since this incident where they

       asked Plaintiff offensive questions based on this incident (the “Newlywed Game”).

40.    Due to the sexual harassment Plaintiff endured from Defendants and the hostile work

       environment previously discussed, Plaintiff brought her complaints to Defendants’ HR

       department. The first time Plaintiff contacted HR was on June 15, 2020. Plaintiff spoke to




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       Gabby Moses, who is in-house counsel and the head of HR. Moses deferred to Meagan

       Conway, who is also in-house HR counsel.

41.    Plaintiff started talking to Conway via email on June 16th. Plaintiff then had an audio call

       with Conway and April Paxton on July 7th, and then another one on July 10th. Plaintiff

       expressed her concerns about the aforementioned incidents and about the harm that these

       incidents have caused Plaintiff.

42.    Plaintiff then took a two-week leave, using Plaintiff’s vacation time, in order to attempt to

       deal with the emotional stress and anguish that Plaintiff suffered as a result of these

       incidents.

43.    While being medically treated for symptoms caused by the sexual harassment and hostile

       work environment that Plaintiff suffered while employed by Defendants, Plaintiff was put

       on doctor’s orders to work from home.

44.    Unfortunately, instead of addressing Plaintiff’s concerns, Plaintiff was retaliated against

       and ultimately wrongfully terminated by Defendants.

45.    This retaliation came in the form of isolation and ostracizing by Plaintiff’s coworkers and

       management. For example, prior to Plaintiff’s complaints to HR and leave of absence,

       Plaintiff almost had more work than she could handle, and Plaintiff worked side-by-side

       with Plaintiff’s supervisor, Sarai Cebollero. When Plaintiff took those two weeks off, per

       Plaintiff’s doctor's orders, Defendants brought in Pam Buchman, who is the director of

       construction, and has experience in Lease Administration, to fill in while Plaintiff was

       gone.

46.    However, once Plaintiff returned and was working from home, as directed by Plaintiff’s

       doctor, the work Plaintiff received was almost exclusively from Plaintiff’s team in Lahore,


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       Pakistan, and not from Plaintiff’s supervisor. Instead, Cebollero gave Plaintiff’s workload,

       with the exception of the work Plaintiff’s Lahore team does, to Buchman. Cebollero very

       seldomly asked Plaintiff to do anything, and for the most part, Plaintiff was isolated by

       Defendants and cut out of any of the responsibilities Plaintiff previously had at Defendants’

       home office.

47.    Defendants had team meetings every day at 9am, and during those meetings, Plaintiff asked

       when Buchman would go back to her normal duties, and Plaintiff never got a direct answer.

       The company was trying to phase Plaintiff out and was doing so in retaliation for Plaintiff’s

       complaints of hostile work environment, sexual harassment, and because Plaintiff was

       working from home due to Defendants’ actions.

48.    Further, during those meetings, Cebollero constantly complained about having too much

       to do, so Plaintiff said a number of times, “Please send over whatever you need help with,

       and I'll do it.” However, Cebollero never even acknowledged that Plaintiff asked for the

       work and never provided any of this work to Plaintiff.

49.    At this point, Cebollero was sending Plaintiff one to three emails a day and did not share

       the workload. This was a dramatic shift because Cebollero would normally send Plaintiff

       dozens of emails every day.

50.    There was no reason for this change in behavior, and the only thing that changed was that

       Plaintiff had made a #MeToo sex harassment/discrimination complaint to HR and was

       ordered to take time off and then work from home, per Plaintiff’s doctor’s orders.

51.    Defendants’ disability discrimination and retaliation was clearly demonstrated during one

       of the daily meetings where Plaintiff asked Cebollero when she was going to get her normal

       workload back, and Cebollero stated that Plaintiff would get her workload back when


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       Plaintiff returned to work at the office. This was an example of Plaintiff’s supervisor not

       following Plaintiff’s doctor’s orders and failing to accommodate Plaintiff by refusing to

       give Plaintiff her normal workload back until Plaintiff returned to work at the office, even

       though Plaintiff was working from home based upon Plaintiff’s doctor’s orders.

52.    Plaintiff again brought all of these issues to Defendants’ HR, but instead of conducting an

       investigation into Plaintiff’s complaints and request for accommodations, Defendants

       began conducting an investigation into Plaintiff.

53.    Defendants falsely accused Plaintiff of performance issues, even though Plaintiff was

       recently honored as one of their top performers and never once had any documented issues

       regarding job performance, and was also just given a bonus in July for Plaintiff’s job

       performance for the first half of the year.

54.    Defendants completely failed to take Plaintiff’s claims seriously and instead terminated

       Plaintiff on October 13, 2020 based on completely false allegations of poor job

       performance.

55.    Plaintiff was never previously coached or trained for any alleged performance issues, never

       previously written up for any alleged performance issues, and was never placed on any sort

       of performance improvement plan or given a final warning regarding any alleged

       performance issues, but instead was immediately terminated based on fabricated and

       unfounded performance issues.

56.    Again, Plaintiff was never afforded any opportunity to address and correct any alleged

       performance issues, unlike Defendants’ male employees who were afforded such

       opportunities for documented issues of sex harassment, race discrimination, and sex

       discrimination.


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57.    Although Plaintiff was a high performer for Defendants since Plaintiff started working for

       the company, Plaintiff was forced to endure numerous acts of #MeToo sexual

       discrimination, was sexually harassed and humiliated in front of Plaintiff’s coworkers by

       Defendants, was discriminated and retaliated against because of Plaintiff’s disability

       issues, and was ultimately terminated in retaliation for complaining about these wrongs.


                                             COUNT I

                 DISCRIMINATION BASED ON SEX UNDER TITLE VII

58.    Plaintiff re-alleges and incorporates into count one, paragraphs 1-57.

59.    Defendants, by and through their agents and employees, intentionally engaged in the

       aforementioned practices, policies, customs, and usages made unlawful by Title VII, as

       amended, and directly discriminated against Plaintiff because of her sex, by harassing her

       and firing her due to her sex, while at the same time failing to terminate male employees

       who egregiously violated company policy.

60.    Defendants, by and through their agents, have maintained a policy of sex discrimination in

       violation of the foregoing statute against Plaintiff.

61.    If Plaintiff was not female, she would not have been harassed, treated poorly, and

       unlawfully discharged.


                                            COUNT II

        HOSTILE WORK ENVIRONMENT HARASSMENT UNDER TITLE VII

62.    Plaintiff re-alleges and incorporates into count two, paragraphs 1-61.

63.    Defendants, by and through their agents and employees, intentionally engaged in the

       aforementioned practices, policies, customs, and usages made unlawful by Title VII, as

       amended, and directly failed to protect Plaintiff from a hostile work environment.
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64.    Defendants, by and through their agents, have maintained a hostile work environment in

       violation of the foregoing statute against Plaintiff.

65.    Defendants failed to protect Plaintiff from a hostile work environment by failing to take

       prompt remedial action to protect Plaintiff from the sexual harassment of Naushad

       Kermally.


                                            COUNT III

                                  TITLE VII RETALIATION

66.    Plaintiff re-alleges and incorporates into count three, paragraphs 1-65.

67.    Plaintiff engaged in a protected activity when she complained about what she reasonably

       believed to be unlawful discrimination to Defendants’ HR department.

68.    Defendants were put on notice that Plaintiff was complaining of what she reasonably

       believed to be unlawful employment practices under Title VII.

69.    Defendants, by and through their agents and employees, intentionally engaged in the

       aforementioned practices, policies, customs, and usages made unlawful by Title VII, as

       amended, because of their retaliation for complaints of discrimination.

70.    Defendants, acting by and through their employees, maintained a policy of retaliation, in

       violation of the foregoing statutes against Plaintiff.

71.    If Plaintiff had not engaged in a protected activity, she would not have been terminated.


                                            COUNT IV

            DISCRIMINATION BASED ON DISABILITY UNDER THE ADA

72.    Plaintiff re-alleges and incorporates into count four, paragraphs 1-71.

73.    Defendants, by and through their agents and employees, intentionally engaged in the

       aforementioned practices, policies, customs, and usages made unlawful by the ADA, as
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       amended, and directly discriminated against Plaintiff because of her disability, by harassing

       her and firing her due to her disability.

74.    Defendants, by and through their agents, have maintained a policy of disability

       discrimination in violation of the foregoing statute against Plaintiff.

75.    If Plaintiff did not have a disability requiring specific accommodations, she would not have

       been harassed, treated poorly, and unlawfully discharged.


                                            COUNT V

                                      ADA RETALIATION

76.    Plaintiff re-alleges and incorporates into count five, paragraphs 1-76.

77.    Plaintiff engaged in a protected activity when she complained about what she reasonably

       believed to be unlawful discrimination to Defendants’ HR department.

78.    Defendants were put on notice that Plaintiff was complaining of what she reasonably

       believed to be unlawful employment practices under the ADA.

79.    Defendants, by and through their agents and employees, intentionally engaged in the

       aforementioned practices, policies, customs, and usages made unlawful by the ADA, as

       amended, because of their retaliation for complaints of discrimination.

80.    Defendants, acting by and through their employees, maintained a policy of retaliation, in

       violation of the foregoing statutes against Plaintiff.

81.    If Plaintiff had not engaged in a protected activity, she would not have been terminated.


                                            DAMAGES




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82.      As a direct and proximate result of the aforementioned acts, Plaintiff has suffered loss of

         wages, both in the past, present, and future, as well as compensatory damages, including

         but not limited to emotional distress.


                                          EXEMPLARY DAMAGES

      83. Defendants’ actions were intentional, willful, harsh, oppressive, reckless, and malicious,

         and as a further and proximate cause, Plaintiff has suffered severe emotional distress, pain,

         and suffering. The wrongs done by Defendants were aggravated by their willfulness,

         wantonness, and maliciousness for which the law allows the imposition of exemplary

         damages. Plaintiff, therefore, seeks exemplary damages in a sum to be determined by the

         trier of fact to serve as punishment to deter Defendants from such conduct in similar

         situations.

                                             ATTORNEY’S FEES

      84. Defendants’ actions and conduct as described herein and the resulting damage and loss to

         Plaintiff has necessitated Plaintiff retaining the services of COANE AND ASSOCIATES,

         PLLC in order to initiate and litigate this proceeding. Plaintiff seeks recovery of reasonable

         and necessary attorney’s fees.


                                               JURY DEMAND

      85. Plaintiff hereby makes her request for a jury trial.


                                           INJUNCTIVE RELIEF

      86. Plaintiff seeks injunctive relief requiring Defendants to take affirmative and effective steps

         to remove and otherwise discipline managers who have failed to comply with Title VII and

         the ADA and who violate Federal statutory protection against discrimination.


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  87. Plaintiff seeks injunctive relief requiring Defendants to take specific actions designed,

      implemented, and confirmed by qualified non-government consultants to ensure that all

      supervisory employees are adequately trained to identify, investigate, and stop situations

      and complaints. Such specific actions include, but are not limited to:

         a. allocation of significant funding and trained staff to implement all changes within
            two years;
         b. discipline managers who have violated the company’s policies and failed to meet
            their legal responsibility to promptly investigate complaints and to take effective
            action to stop and deter prohibited personnel practices against employees;
         c. establishing and strictly measuring EEO compliance as a critical element in every
            manager’s performance standards;
         d. creating a process for the prompt investigation of harassment and reprisal
            complaints separate from the agency’s process;
         e. mandatory and effective training for all employees and managers on
            discrimination and retaliation issues, investigations, and appropriate corrective
            actions;
         f. eliminating the backlog of current EEO cases alleging discrimination, harassment,
            and reprisal; and
         g. reinstatement of Plaintiff.

                                            PRAYER

  88. WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays Defendants be

      cited to appear and answer, and that on final hearing of this cause, Plaintiff has the

      following relief:

         a.   Back Pay;
         b.   Pre-Judgment Interest on Back Pay;
         c.   Front Pay;
         d.   Compensatory Damages, including but not limited to emotional distress;
         e.   Punitive Damages;
         f.   Injunctive and Affirmative Relief;
         g.   Attorney’s Fees and Costs;
         h.   Reinstatement; and
         i.   Such other and further relief, at law or in equity, general or special, to which
              Plaintiff may show she is justly entitled;

Dated: April 13, 2021                                Respectfully submitted,

                                                     COANE AND ASSOCIATES, PLLC

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                                      /s/Bruce Coane
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